
*47OPINION.
Teussell :
The record of this case contains the testimony of several wi( nesses, some of whom are officers of corporations engaged in operating what are known as single ship companies; others are accountants who have had experience in keeping and auditing accounts of such companies. All of these witnesses testified that in the case of the so-called single ship companies it is, and for years past has been, a general practice to keep the accounts of such companies on the accrual basis as applied to completed round-trip voyages and to close the books for each year on the basis of the round voyages completed in each year. And, we are convinced that that method of accounting as employed by this petitioner can be properly said clearly to reflect its income under provisions of section 212 (b) of the Revenue Act of 1918.
■ On the other hand, when the Commissioner made up his assertion of a deficiency for the year 1918 he had before him the fact that the round-trip voyage from San Francisco to Sydney and return had consumed not less than 250 days, of which 160 fell in the year 1918 and 90 in the year 1919. He also had before him the fact that the total deductions for the round trip aggregated $108,659.41, and yet he proposed to allow for the year 1918 of such total deductions only the sum of $35,082.35, which indicates a clear distortion of net income for that year. We are, therefore, of the opinion that the petitioner’s books of account and its income and profits-tax returns made upon the basis of such accounts, must be said clearly to reflect its income and should not be disturbed.

The deficiencies may be redetermined in accordance with the foregoing fundings of fact and opinion pursuant to Bule 50, and judgment will be entered in due course.

